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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
WLADYSLAW WYLAZ, individually and on behalf
of all other persons similarly situated who were
employed         by      THE        LAQUILA           GROUP          COMPLAINT
EQUIPMENT CORP., and/or any other entities
Affiliated with or controlled by THE LAQUILA                         Docket No.:
GROUP EQUIPMENT CORP,
                                                                     CLASS / COLLECTIVE ACTION
                                   Plaintiffs,
                                                                     JURY TRIAL DEMANDED
        - against -

THE LAQUILA GROUP EQUIPMENT CORP.,
THE   LAQUILA       GROUP,   INC.,  DINO
TOMASSETTI, JR, “JOE” DOE, “IRENA” DOE,
JOHN DOES 1-10, and JANE DOES 1-10.

                                    Defendants.
-----------------------------------------------------------------X

        1.       Plaintiff WLADYSLAW WYLAZ, (“Plaintiff”), on behalf of himself and on behalf

of all others similarly situated, by and through his attorneys, Marzec Law Firm P.C., as and for his

complaint against the Defendant, THE LAQUILA GROUP EQUIPMENT CORP. (“LAQUILA

EQUIPMENT”), THE LAQUILA GROUP, INC. (“LAQUILA GROUP”), (collectively

“LAQUILA” or “Corporate Defendants”), DINO TOMASSETTI, JR, “JOE” DOE, “IRENA”

DOE, JOHN DOES 1-10, and JANE DOES 1-10., (collectively “Individual Defendants”),

(collectively “Defendants”) allege as follows:

                                       NATURE OF THE ACTION

        2.       Plaintiff, on behalf of himself and others similarly situated brings this action to

recover unpaid wages, unpaid overtime wages, prevailing wages, liquidated damages and

reasonable attorneys’ fees under the Fair Labor Standards Act of 1938, as amended (29 U.S.C. §

201 et seq.) and the various wage orders promulgated thereunder by the U.S. Department of Labor

and codified under 29 C.F.R. § et seq. (“FLSA”), New York Labor Law Articles 6 and 19 and


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various wage orders promulgated thereunder by the New York State Department of Labor and

codified at 12 N.Y.C.R.R.§ 137-144 (“NYLL”), and the New York State common law.

       3.      Additionally, this action seeks damages, liquidated damages, and punitive damages

arising out of breach of contract, unjust enrichment, fraud by certain or all Defendants and against

the Individual Defendants for intentionally inducing the Corporate Defendants into violating the

employee contract between the Corporate Defendants and the Plaintiff and others similarly situated

of wages they rightfully earned working for the Corporate Defendants.

       4.      Plaintiff, along with others similarly situated, was, for all times relevant to this

Complaint, employed by Defendants, in a position for which he was paid hourly and which was

not exempt from the overtime provisions of the Fair Labor Standards Act (“FLSA”).

       5.      Plaintiff and others similarly situated employees were employed by the Corporate

Defendant and worked various per week, but were not compensated properly for the hours they

worked and the overtime hours worked.

                                            PARTIES

       6.      Plaintiff, Wladyslaw Wylaz is a citizen of New York with an address of 150

Norman Avenue, Apartment 2L, Brooklyn, NY 11222. He was employed by LAQUILA

EQUIPMENT from on or about 1996. Plaintiff was employed as a welder and metal worker.

       7.      During the course of his employment, Mr. Wylaz served as a full-time employee in

for Defendants as a welder and a metal worker.

       8.      Defendant, LAQUILA EQUIPMENT, at all relevant times herein, was and is a

corporation duly organized under, and existing by virtue of, the laws of the State of New York and

having its principal place of business at 1590 Troy Avenue, Brooklyn, New York 11234.




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       9.      Defendant, LAQUILA GROUP, at all relevant times herein, was and is a

corporation duly organized under, and existing by virtue of, the laws of the State of New York and

having its principal place of business at 1590 Troy Avenue, Brooklyn, New York 11234.

       10.     Defendant Dino Tomasetti, Jr. is an individual with a business address of 1590 Troy

Avenue, Brooklyn, New York 11234. Mr. Thomasetti is the chief executive officer and manager

of Corporate Defendants.

       11.     Dino Tomasetti, Jr. is the owner, shareholder, officer, director, and/or Manager of

LAQUILA GROUP and LAQUILA EQUIPMENT, and as ones of the ten largest shareholders is

individually responsible for unpaid wages under New York Business Corporation Law and

otherwise.

       12.     “Joe” Doe is an individual, whose last name is presently unknown to Plaintiff, with

a business address of 1590 Troy Avenue, Brooklyn, New York 11234. “Joe” Doe is an officer,

manager or director of the Corporate Defendant, responsible for supervising Plaintiff and others

similarly situated and hiring and firing employees, and is individually responsible for unpaid

wages under Federal and New York Law and otherwise.

       13.     “Irena” Doe is the mother of “Joe” Doe, and is an individual, whose last name is

presently unknown to Plaintiff, with a business address of 1590 Troy Avenue, Brooklyn, New

York 11234. “Irena” Doe is an officer, manager or director of the Corporate Defendant, responsible

for supervising Plaintiff and others similarly situated and hiring and firing employees, and is

individually responsible for unpaid wages under Federal and New Jersey Law and otherwise.

“Irena” Doe is duly employed in the office of the Defendants.

       14.     John Does 1-10 and Jane Does 1-10 are yet unknown individual defendants,

supervisors, managers and agents, to be added as Defendants in the future.




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        15.     Individual Defendants were charged with payment of wages to Plaintiffs.

                                  JURISDICTION AND VENUE

        16.     The Court has personal jurisdiction over Corporate Defendants in that Corporate

Defendants are incorporated in the State of New York and are authorized to do business in the

State of New York and regularly conduct business in New York.

        17.     The Court has personal jurisdiction over the Individual Defendants in that they are

residents of New York and regularly transact a substantial amount of business and has substantial

contacts in New York.

        18.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, in that this

action arises under 29 U.S.C. § 207 (FLSA); 28 U.S.C. § 1337 (Regulation of Commerce).

        19.     This Court has jurisdiction over Plaintiffs’ state law claims pursuant to U.S.C §

1367, because those claims are related to Plaintiffs’ federal claims and form part of the same case

or controversy.

        20.     The Court is a proper venue for this action, pursuant to, among other grounds, 28

U.S.C. § 1391 (b) because substantial events or missions giving rise to Plaintiffs’ claims occurred

in this district, and defendants are residents of the district.

                                           JURY DEMAND

        21.     Plaintiff demands a trial by jury of all issues so triable in this action.

                                    FACTUAL BACKGROUND

        22.     Defendants LAQUILA EQUIPMENT and LAQUILA GROUP, at all relevant

times herein, were and are construction equipment companies located in Brooklyn, New York.

        23.     Defendants LAQUILA EQUIPMENT and LAQUILA GROUP are an employer

subject to the FLSA, as Corporate Defendants engage in an enterprise whose annual volume of

sales made or business done is not less than $500,000.00, the activities of which affect interstate


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commerce, in that Corporate Defendants employ workers who handle goods and materials that

were produced or manufactured outside of New York and have moved in interstate and/or

international commerce, including, construction products and tools, machinery and company cars.

Corporate Defendants are in the business of heavy construction, utilizing heavy equipment

purchased and used in interstate commerce.

       24.     Upon information and belief, Defendants employ over 50 employees. At various

times of Plaintiff’s employment, Defendants employed over 300 employees.

       25.     On or about 1996, Plaintiff was hired by LAQUILA EQUIPMENT.

       26.     Plaintiff continues to work for the Defendants.

       27.     As of 2012, Plaintiff was paid $24.00 per hour. On or about March 13, 2013, his

pay increased to $26.00 per hour. Plaintiff’s pay remains at $26.00.

       28.     Plaintiff, and others similarly situated, was entitled to be paid a proper wage for the

work done.

       29.     Despite regularly working in excess of 40 hours per week, Plaintiff (and others

similarly situated) were never paid the proper overtime rate of one-and-half times his regular

hourly rate for their hours in excess of 40 per week.

       30.     On average, Plaintiff worked in excess of 40 hours per week.

       31.     On average, Plaintiff has worked between 50 to 60 hours per week.

       32.     Despite the number of hours worked, Plaintiff and others similarly situated were

sometimes paid at straight time rate, but never at an overtime rate.

       33.     Essentially, Plaintiffs were paid less than the overtime rate of pay, and less than the

agreed upon straight hourly rate.




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       34.     Upon information and belief, other similarly situated employees were, too,

underpaid and were paid no time and a half for overtime.

       35.     This failure to pay was motivated to underpay Plaintiff and others similarly situated.

       36.     Defendants’ failure to pay Plaintiffs was pursuant to a policy by which they

similarly failed to pay overtime and regular wages to other employees similarly situated to

Plaintiff, who also regularly worked in excess of 40 hours per week and who did not receive wages

for all hours worked.

       37.     During Plaintiffs’ employment with Corporate Defendants, the Plaintiff was one of

approximately 50 plus employees over time who regularly worked in excess of 40 hours per week,

but were not paid overtime and/or did not receive their wages for all hours worked.

       38.     It was Mr. Tomassetti who supervised the Plaintiffs and other similarly situated,

and paid Plaintiff.

       39.     Defendants failed to display legally required job site notices concerning state and

labor laws.

       40.     Defendants failed provide their employees, in writing in English and in the

language identified by each employee as the primary language of the employee, a notice containing

the rate or rates of pay and basis thereof, in contravention of NYLL § 195(1).

       41.     Defendants failed to track each and every employee’s hours worked.

       42.     Defendants failed to track each employee’s hours worked for any given day of a

week during which the employee was employed.

       43.     Plaintiff lived under a constant fear of termination should he speak up to defendants

concerning non-payment of lawful prevailing and overtime wages. When Plaintiff raised the issue

with management (Irena, Tomassetti), he was ignored.




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Defendants’ Conduct was and is Willful and Ongoing

       44.     Defendants as employers have certain statutory obligations towards employees,

including the requirement of paying employees at the higher overtime premium of one-and-a-half

times their regular rate for each hour worked in excess of 40 per week, and to make, keep, and

preserve proper payroll records.

       45.     Defendants were aware of their statutory requirements, including the requirement

to pay Plaintiffs and others similarly situated at the overtime premium rate for each hour worked

in excess of 40 per week, and to make, keep, and preserve proper payroll records.

       46.     Defendants knowingly failed to pay Plaintiffs and others similarly situated all of

the regular and overtime wages to which they were entitled, and to make, keep, and preserve proper

payroll records.

       47.     As such, the various violations of the law which are alleged herein were committed

knowingly, willfully, and intentionally by Defendants.

       48.     At a minimum, Defendants failed to take the necessary steps to ascertain their duties

with respect to the payment of wages to their employees.

       49.     Upon information and belief these violations are ongoing, as Defendants continue

to engage in the wrongful conduct described herein.

Facts Relating to the Defendants as Employer

       50.     At all relevant times herein, LAQUILA EQUIPMENT was and is controlled by Mr.

Tomassetti.

       51.     At all relevant times herein, LAQUILA GROUP was and is controlled by Mr.

Tomassetti.

       52.     At all relevant times herein, LAQUILA GROUP and LAQUILA EQUIPMENT

jointly operated the same business.


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       53.     At all relevant times herein, Mr. Tomassetti conducted business as LAQUILA

GROUP and LAQUILA EQUIPMENT.

       54.     At all relevant times herein, Mr. Tomassetti acted for and on behalf of Corporate

Defendants, with the power and authority vested in him as owner, office and agent of both

LAQUILA GROUP and LAQUILA EQUIPMENT, and acted in the course and scope of his duty

and function as agent and officer of LAQUILA GROUP and LAQUILA EQUIPMENT.

       55.     At all relevant times herein, Mr. Tomassetti directly managed, handled, or were

otherwise ultimately responsible for, the payroll and/or payroll calculations and signing or issuing

checks for Plaintiff—or directing payroll through other agents—and others similarly situated.

       56.     Mr. Tomassetti had control over the conditions of employment of Plaintiffs and

others similarly situated, including their hiring and firing, their work schedules, the rates and

methods of payments of their wages, and the maintenance of their employment records.

       57.     At all relevant times herein, Mr. Tomassetti had operational control over

LAQUILA GROUP and LAQUILA EQUIPMENT.

       58.     As a matter of economic reality, all Defendants are joint employers of Plaintiff and

others similarly situated; and, as a result, all Defendants, individually and collectively, and jointly

and severally, are liable for claims made herein.

Facts Relating to the Piercing the Corporate Veil of LAQUILA GROUP

       59.     Upon information and belief, LAQUILA GROUP is wholly owned by Mr.

Tomassetti.

       60.     Upon information and belief, in conducting the affairs of LAQUILA GROUP, Mr.

Tomassetti failed to comply with the required corporate formalities, including recordkeeping,

governance requirements, and other formalities.




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       61.     Upon information and belief, Mr. Tomassetti used the assets of LAQUILA GROUP

as his own, and otherwise commingled personal assets with the assets of LAQUILA GROUP.

       62.     As alleged herein, Mr. Tomassetti used LAQUILA GROUP in order to circumvent

a statute or statutes, or accomplish other wrongful acts or in furtherance of other wrongful or

inequitable purposes.

       63.     Upon information and belief, LAQUILA GROUP was used to commit fraud against

Plaintiffs and others similarly situated.

       64.     LAQUILA GROUP is the alter-ego of Mr. Tomassetti; and, as will be established

at trial, for the purpose of the claims made by Plaintiffs and others similarly situated herein,

LAQUILA GROUP has no separate legal existence from Mr. Tomassetti. As such, LAQUILA

GROUP and Mr. Tomassetti, individually and collectively, and jointly and severally, are liable for

all claims made herein.

Facts Relating to the Piercing the Corporate Veil of LAQUILA EQUIPMENT

       65.     Upon information and belief, LAQUILA EQUIPMENT is wholly owned by Mr.

Tomassetti.

       66.     Upon information and belief, in conducting the affairs of LAQUILA

EQUIPMENT, Mr. Tomassetti failed to comply with the required corporate formalities, including

recordkeeping, governance requirements, and other formalities.

       67.     Upon information and belief, Mr. Tomassetti used the assets of LAQUILA

EQUIPMENT as his own, and otherwise commingled personal assets with the assets of LAQUILA

EQUIPMENT.

       68.     As alleged herein, Mr. Tomassetti used LAQUILA EQUIPMENT in order to

circumvent a statute or statutes, or accomplish other wrongful acts or in furtherance of other

wrongful or inequitable purposes.


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       69.     Upon information and belief, LAQUILA EQUIPMENT was used to commit fraud

against Plaintiffs and others similarly situated.

       70.     LAQUILA EQUIPMENT is the alter-ego of Mr. Tomassetti; and, as will be

established at trial, for the purpose of the claims made by Plaintiffs and others similarly situated

herein, LAQUILA EQUIPMENT has no separate legal existence from Mr. Tomassetti. As such,

LAQUILA EQUIPMENT and Mr. Tomassetti, individually and collectively, and jointly and

severally, are liable for all claims made herein.

                           COLLECTIVE ACTION ALLEGATIONS

       71.     Plaintiff brings this action on behalf of himself and all others current and former

employees of Defendants who did not receive the compensation required by the FLSA and the

NYLL and New York common law with respect to their work for Defendants.

       72.     Upon information and belief, this class of persons consists of not less than fifty (50)

persons.

       73.     There are questions of law and fact common to the class, specifically whether the

employment of Plaintiff and others similarly situated by Defendants is subject to the jurisdiction

and the wage and overtime requirements of the FLSA and NYLL. Only the amount of individual

damages sustained by each former or current employee will vary.

       74.     Plaintiff and Defendants’ other employees are similarly situated insofar as

Defendants instituted a policy to not pay Plaintiffs and others proper overtime wages and regular

wages under the FLSA and NYLL.

       75.     Plaintiffs bring the FLSA and NYLL claims for relief herein individually and all

others similarly situated as collective action pursuant to the FLSA and NYLL and common law,

in respect to all claims that Plaintiff, and all others similarly situated, have against Defendants as

a result of Defendants’ violation of the labor laws as complained herein.


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                               CLASS ACTION ALLEGATIONS

       76.     Plaintiff brings this action on behalf of himself and all other current and former

employees of Defendants who did not receive the compensation required by the FLSA and the

NYLL and New York common law with respect to their work for Defendants.

       77.     Upon information and belief, this class of persons consist of not less than fifty (50)

persons, and the class is thus so numerous that joinder of all members is impracticable under the

standards of Fed. R. Civ. P. 23(a)(1).

       78.     There are questions of law and fact common to the class which predominate over

any questions affecting only individual members, specifically: whether the employment of

Plaintiffs and others similarly situated by Defendants is subject to the jurisdiction and the wage

and overtime requirements of the FLSA and NYLL and New York common law. Only the amount

of individual damages sustained by each class member will vary.

       79.     The claims of Plaintiff are typical of the claims of the above-described class in that

all of the members of the class have been similarly affected by the acts and practices of the

Defendants.

       80.     Plaintiff will fairly and adequately protect the interests of the members of the class,

in that their interests are not adverse to the interests of the other members of the class.

       81.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy under the standards of Fed.R.Civ.P.23 (b)(3).

       82.     Plaintiff brings the first, second, and third claims for relief herein on behalf of

himself individually and all others similarly situated as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure, in respect to all claims that Plaintiff, and all others similarly

situated, have against the Defendants as a result of Defendants’ violation of the FLSA, NYLL and

New York Common Law.


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                                       First Claim for Relief
                                        Breach of Contract

          83.   Plaintiff repeats and realleges each and every previous allegation as if fully set forth

herein.

          84.   Plaintiff and others similarly situated entered into an oral contract with Defendants

to supply work in furtherance of Defendants’ business in exchange for hourly wages.

          85.   Plaintiff and others similarly situated, satisfactorily supplied labor and otherwise

complied with the terms of his employment agreement with Defendants, and was therefore entitled

to the wages he earned while working for Defendants.

          86.   Defendants failed or refused to pay Plaintiff and others similarly situated all of their

wages to which he was entitled under his employment agreement.

          87.   Defendants’ failure or refusal to pay Plaintiff and others similarly situated all of the

wages to which he was entitled under his employment agreement constituted a breach of such

employment agreement.

          88.   By virtue of the foregoing breach of contract by Defendants, Plaintiff and others

similarly situated have been damaged in an amount to be proven at trial based upon an accounting

of the amount he should have been paid as contemplated by his employment agreement, less

amounts he actually was paid, together with interests, costs, disbursements, and attorneys’ fees.

                    Second Claim for Relief – Unpaid Wages and Overtime
                      New York Minimum Wage Act NYLL § 650 et Seq.

          89.   Plaintiff repeats and realleges each and every allegation above as if set forth fully

and at length herein.

          90.   At all times relevant to this action, Plaintiff, and all others similarly situated, were

employed by Defendants, within the meaning of the New York Labor Law (“NYLL”), §§ 2 and

651 and the regulation thereunder including 12 NYCRR § 142.


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        91.     Pursuant to the NYLL, Plaintiff, and all others similarly situated, were entitled to

certain overtime wages, which Defendants intentionally failed to pay in violation of such laws.

        92.     Plaintiff, and all others similarly situated, regularly worked in excess of 40 hours

per week for Defendants, but did not receive the proper wages and overtimes wages to which he

was entitled.

        93.     Defendants failed to appraise Plaintiff, and all others similarly situated, of their

rights under New York Labor Law.

        94.     Defendants failed to furnish Plaintiff, and all others similarly situated, with a

statement with every payment of wages listing gross wages, deductions and net wages, in

contravention of New York Labor Law § 195(3) and New York State Department of Labor

Regulations § 142-2.7.

        95.     Defendants failed to keep true and accurate records of hours worked by each

employee, including Plaintiff, and all others similarly situated, covered by a proper hourly wage

rate.

        96.     Defendants failed to establish, maintain, and preserve for not less than six years,

payroll records showing the hours worked, gross wages, deductions, and net wages for each

employee, in contravention of the New York Labor Law § 194(4) and New York State Department

of Labor Regulation § 142-2.6.

        97.     Pursuant to these labor law violations, Plaintiff, and all others similarly situated, is

entitled to recover from Defendants his unpaid wages and sums illegally deducted from his wages,

reasonable attorneys’ fees, and costs and disbursements of this action, pursuant to New York Labor

Law § 663(1).




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          98.    Plaintiff, and all others similarly situated, is also entitled to recover liquidated

damages and civil penalties for an amount equal to one hundred percent of the total such

underpayments found to be due.

          99.    At all times relevant to this action, Defendants failed and willfully failed to pay

Plaintiff, and all others similarly situated, overtime wage at rates of at least 1.5 times their regular

rate of pay for each and all hours he worked in excess of forty hours in a week, in violation of the

New York Minimum Wage Act and its implementing regulation. NYLL §§ 650 et seq.; 12 NYCRR

§ 142-2.2.

          100.   Due to Defendants’ New York Labor Law violations, Plaintiff, and all others

similarly situated, is entitled to recover from Defendants, his unpaid overtime wages, maximum

liquidated damages, reasonable attorneys’ fees, and costs of the action, pursuant to NYLL §

663(1).

          101.   Wherefore, Plaintiff demands a money judgment in an amount to be proven at trial,

individually and collectively for all other similarly situated employees.

                      Third Claim for Relief – Unpaid Wages and Overtime
                        Fair Labor Standards Act – 29 U.S.C. 201 et Seq.

          102.   Plaintiff repeats and realleges each and every allegation above as if set forth fully

and at length herein.

          103.   Plaintiff, and all others similarly situated, was, for all times relevant to this

Complaint, employed by Defendants, a position for which he was paid hourly and that is not

exempt from the overtime provisions of FLSA.

          104.   At all times relevant herein, Defendants were engaged in commerce and/or in the

production of goods for commerce and/or Defendant constituted an enterprise engaged in

commerce within the meaning of the FLSA including 29 U.S.C. § 207 (a).



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       105.    At all times relevant herein, Defendants failed and willfully failed to pay Plaintiff

and all others similarly situated overtime wages at rates of at least 1.5 times their regular rate of

pay for each and all hours they worked in excess of forty hours in a work week, in violation of 29

U.S.C. § 207, 216(b).

       106.    At all times relevant herein, Defendants failed and willfully failed to pay Plaintiff,

and all others similarly situated, minimum wages.

       107.    Plaintiff and all others similarly situated were paid hourly and not exempt from the

right to receive overtime pay or minimum wages under the FLSA.

       108.    At all times relevant to this Complaint, Defendants had a policy of willfully failing

to make overtime payments for hours worked in excess of forty (40) hours per week.

       109.    As a result of Defendants’ failure to compensate Plaintiff, and all others similarly

situated, at a rate not less than 1½ time the regular rate of pay for work performed in excess of

forty (40) hours in a work week, Defendants have violated and continue to violate FLSA 29 U.S.C.

§§ 201 et seq., including 29 U.S.C. § 207(a)(1) and § 215(a).

       110.    Defendants failed to make, keep and preserve records with respect to Plaintiff and

all others similarly situated, sufficient to determine the wages, hours and other conditions and

practices of employment in violation of the FLSA, 29 U.S.C. §§ 201 et. seq., including 29 U.S.C.

§ 211(c) and § 255(a).

       111.    Defendants conduct as alleged herein constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

       112.    As result of the Defendants’ failure to properly credit, record, report and/ or

compensate Plaintiff, and all others similarly situated, Defendants have failed to make, keep and

preserve records with respect to each of its employee, including Plaintiff, and all others similarly




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situated, sufficient to determine the wages, hours, and other conditions and practices of

employment in violation of the FLSA 29 U.S.C. §§ 201, et seq., including 29 U.S.C. §§ 211(c)

and 215(a).

       113.    Defendants have failed to properly disclose or appraise Plaintiff, and all others

similarly situated, of his rights under the FLSA.

       114.    As a direct and proximate result of the Defendants’ violation of the FLSA, Plaintiff,

and all others similarly situated, is entitled to liquidated damages pursuant to the FLSA.

       115.    Plaintiff, and all others similarly situated, is entitled to an award of reasonable

attorneys’ fees, costs and expenses, pursuant to 29 U.S.C. § 216(b).

       116.    Plaintiff, and all others similarly situated, seeks a judgment for unpaid overtime

wages, regular wages, such sums to be determined based upon an accounting of the hours worked

by, and wages actually paid to, Plaintiff, and Plaintiff also seeks an award of liquidated damages,

attorneys’ fees, interest and costs as provided by the FLSA.

       117.    Due to Defendants’ FLSA violations, Plaintiff, and all others similarly situated, is

entitled to recover from Defendants his unpaid overtime compensation, an additional equal amount

as liquidated damages, attorneys’ fees, and costs of the action, pursuant to 29 U.S.C. § 216(b).

       118.    Wherefore, Plaintiff demands a money judgment in an amount to be proven at trial,

individually and collectively for all other similarly situated employees.

                                     Fourth Claim for Relief
                                        Quantum Meruit

       119.    Plaintiff repeats and realleges each and every allegation above as if set forth fully

and at length herein.

       120.    Plaintiff, and all others similarly situated, performed work and services for

Defendants.



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         121.   Plaintiff, and all others similarly situated, had a reasonable expectation of payment

for the hours he worked for the Defendants.

         122.   Defendants failed to remunerate Plaintiff, and all others similarly situated, for all

the hours he worked.

         123.   Defendants failed to pay Plaintiff, and all others similarly situated, an overtime rate

of pay for all the hours he worked.

         124.   Plaintiff, and all others similarly situated, is entitled to be paid for a reasonable

value for his services, less the amounts paid to him, together with an award of interest, costs,

disbursements and attorneys’ fees.

         125.   Wherefore, Plaintiff demands a money judgment in an amount to be proven at trial,

individually and collectively for all other similarly situated employees.

                                        Fifth Claim for Relief
                                                Fraud

         126.   Plaintiff repeats and realleges each and every allegation above as if set forth fully

and at length herein.

         127.   At the times alleged herein, Defendants made fraudulent representations of fact to

Plaintiff, and all others similarly situated.

         128.   The misrepresentations included, but were not limited to, Defendants telling

Plaintiff, and all others similarly situated, that he would be paid all wages due, including overtime

wages.

         129.   The misrepresentations include Defendants telling Plaintiff he would be paid

overtime wages for hours worked above and beyond the initial 40 hours worked in a given week

and that he would be paid prevailing wages.




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       130.    Defendants’ misrepresentation of the intent to perform was a knowing

misrepresentation of a material fact.

       131.    Plaintiff relied on the Defendants’ misrepresentation to his detriment.

       132.    Upon the misrepresentation, Plaintiff, and all others similarly situated, continued

working for Defendants.

       133.    Defendants committed fraud against Plaintiff, and all others similarly situated, by

failing to pay him all wages due.

       134.    Wherefore, Plaintiff demands a money judgment in an amount to be proven at trial,

individually and collectively for all other similarly situated employees.

                                        Sixth Claim for Relief
                                        Declaratory Judgment

       135.    Plaintiff repeats and realleges each and every allegation above as if set forth fully

and at length herein.

       136.    Plaintiff demands a declaratory judgment that the practices complained of herein

are unlawful under under the FLSA, 29 U.S.C. § 201 et seq., NYLL – 12 NYCRR § 142 and

Article 6 of the NYLL § 190 et seq.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

               (1)      As to the First Claim for Relief, award Plaintiff damages arising out

                        of the breach of contract.

               (2)      As to the Second Claim for relief, award Plaintiff his unpaid

                        overtime wages due under the New York Minimum Wage Act and

                        the Regulation thereunder including 12 NYCRR § 142-2.2, together




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                with maximum liquidated damages, prejudgment interest, costs and

                attorneys’ fees pursuant to NYLL § 663;

          (3)   As to the Second Claim for Relief, award Plaintiff any and all

                outstanding (additional) wages, including overtime wages plus

                prejudgment interest, costs, disbursements and attorneys’ fees

                pursuant to pursuant to NYLL § 198;

          (4)   As to the Second Claim for Relief, award Plaintiff damages arising

                out of violation of NYLL;

          (5)   As to the Third Claim for Relief, award Plaintiff his unpaid wages

                and overtime wages due under the FLSA, together with maximum

                liquidated damages, costs and attorneys’ fees pursuant to 29 U.S.C.

                § 216(b);

          (6)   As to the Fourth Claim for Relief, award Plaintiff the quantum

                meruit value of his labor.

          (7)   As to the Fifth Claim for Relief, award Plaintiff damages arising out

                of Defendants’ fraud;

          (8)   As to the Sixth Claim for Relief, a declaratory judgment that the

                practices complained of herein are unlawful under the FLSA, 29

                U.S.C. § 201 et seq., NYLL – 12 NYCRR § 142 and Article 6 of the

                NYLL § 190 et seq.;

          (9)   Award Plaintiff any relief requested or stated in the preceding

                paragraphs but which has not been requested in the WHEREFORE




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                       clause or “PRAYER FOR RELIEF”, in addition to the relief

                       requested in the wherefore clause/prayer for relief;

               (10)    If liquidated damages pursuant to FLSA 29 U.S.C. § 216(b) are not

                       awarded, an award of prejudgment interest pursuant to 28 U.S.C. §

                       1961;

               (11)    Award prejudgment interest pursuant to New York Civil Practice

                       Law and Rules §§ 5001-02;

               (12)    Award postjudgment interest pursuant to 28 U.S.C. § 1961 and/or

                       the New York Civil Practice Law And Rules § 5003;

               (13)    Award attorneys’ fees, costs and further expenses of this action

                       pursuant to 29 U.S.C. § 216(b) and NYLL §§ 198(1)-(2) and 663(1);

               (14)    Award Plaintiff all other relief requested in this Complaint;

               (15)    Award Plaintiff other, further and different relies as the Court deems

                       just and proper; and

               (16)    An injunction requiring Defendants to pay all statutorily required

                       wages and cease the unlawful activity described herein pursuant to

                       the NYLL.

                               DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial by jury

on all questions of fact raised by the complaint.




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Dated: October 5, 2018
       Brooklyn, New York
                                                Respectfully submitted,

                                                MARZEC LAW FIRM, PC

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